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               UNITED STATES DISTRICT COURT
                                         for the
                               Eastern District of Louisiana




                                            )
HIRAN RODRIGUEZ
_____________________________________ )
                Plaintiff(s)
                                                  CIVIL ACTION NO. 2:25-CV-00197
                                                  SECTION: “A” (2)


                   v.                             JUDGE JAY C. ZAINEY

                                            )     MAG. JUDGE DONNA PHILLIPS CURRAULT

                                            )

META PLATFORMS, INC., ET AL,
_________________________________________ )

              Defendant(s)
                                            )




      MEMORANDUM IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT
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AGAINST DEFENDANT MARK ELLIOT ZUCKERBERG




Plaintiff, Hiran Rodriguez, appearing pro se, submits this Memorandum of Law in support of

the Request for Entry of Default against Defendant Mark Elliot Zuckerberg, and respectfully

states the following:




I. BACKGROUND AND SERVICE




Defendant Zuckerberg was personally served by the U.S. Marshals Service on March 6, 2025,

as reflected in the official docket. Under Federal Rule of Civil Procedure 12(a)(1)(A)(i), he

was required to respond to the Complaint within 21 days, making the response deadline March

27, 2025.




As of the date of this filing—March 28, 2025—Zuckerberg has failed to plead, move, or

otherwise respond to the Complaint. Accordingly, he is in default under Rule 55(a).




II. PROCEDURAL ATTEMPT TO EVADE DEFAULT MUST BE REJECTED




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Defendants filed an Ex Parte Motion at Rec. Doc. 94 purporting to request a joint extension for

both Meta Platforms, Inc. and Mark Zuckerberg to file a response by April 17, 2025.




This filing is procedurally deficient and legally ineffective as to Zuckerberg.




Plaintiff notes that Defendants’ filing in Rec. Doc. 94 does not constitute a proper motion to

extend Defendant Zuckerberg’s March 27, 2025 deadline. To be valid under Fed. R. Civ. P.

6(b)(1)(A), a motion for extension of time must (1) be filed before the expiration of the deadline;

(2) set forth good cause; and (3) clearly request specific relief. Defendant Zuckerberg’s deadline

was triggered by valid personal service on March 6, 2025, and is governed separately from

Meta Platforms, Inc.




The motion filed at Rec. Doc. 94 fails on all counts:


• It improperly merges two separate procedural timelines;


• It provides no factual or legal basis for extending Zuckerberg’s deadline;


• It fails to cite any authority supporting a joint or “implied” extension.




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As the Fifth Circuit has stated, “Courts must enforce deadlines unless there is both a motion to

extend and a showing of good cause.” Hetzel v. Bethlehem Steel Corp., 50 F.3d 360, 367 (5th

Cir. 1995). Mere confusion or generalized assertions of delay do not constitute good cause. See

also Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 896 n.5 (1990) (holding that procedural rules

must be “enforced to ensure fairness and finality”).




Accordingly, Defendant Zuckerberg’s time to respond expired on March 27, 2025, and no

timely or valid motion for extension has been granted. He is in default as of March 28, 2025, and

the entry of default is proper and mandatory under Rule 55(a).




III. CONCLUSION




For all of the foregoing reasons, Plaintiff respectfully requests that the Clerk enter default

forthwith against Defendant Mark Elliot Zuckerberg, preserving Plaintiff’s rights to seek

default judgment and additional relief under Rule 55(b).




Respectfully submitted,


/s/ Hiran Rodriguez




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Hiran Rodriguez


Pro Se Plaintiff


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Dated: March 28, 2025




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                                CERTIFICATE OF SERVICE



I, Hiran Rodriguez, Plaintiff pro se, hereby certify that on March 28, 2025, I electronically

submitted the following documents through the Electronic Document Submission System

(EDSS) of the United States District Court for the Eastern District of Louisiana:


• Request for Entry of Default Against Defendant Mark Elliot Zuckerberg


• Memorandum in Support of Entry of Default


• Proposed Order for Entry of Default


• This Certificate of Service




Pursuant to Local Rule 5.4 and the Federal Rules of Civil Procedure, notice of this filing will

be electronically served via CM/ECF to all counsel of record who have made an appearance in

this case.



For any defendants who have not yet entered an appearance, I further certify that they are in the

process of being served by the United States Marshal Service in accordance with Federal Rule

of Civil Procedure 4(c)(3).




Respectfully submitted,



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/s/ Hiran Rodriguez



Hiran Rodriguez



Pro Se Plaintiff



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Dated: March 28, 2025




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eFile-ProSe

From:                           Do Not Reply <do_not_reply(a)|aed.uscourts.gov>
Sent:                           Friday, March 28, 2025 12:31 AM
To:                             eFile-ProSe

Subject:                        New EDSS Filing Submitted
Attachments:                    MEMORANDUM IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT.pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Friday, March 28, 2025   -




00:30.


The information for this submission is:


Filer's Name: Hiran Rodriguez

Filer’s Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459


Filer's Case Number (If Known): 2:25-CV-00197

Filer’s Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: MEMORANDUM IN SUPPORT OF REQUEST FOR ENTRY OF
DEFAULT




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